
THREADGILL, Judge.
Appellant, the natural father, challenges the order terminating his parental rights to his minor children, J.S. and C.S., and permanently committing the children to the State of Florida Department of Health and Rehabilitative Services (H.R.S.) for adoption.
We have carefully reviewed the entire record of these proceedings, considered the briefs and arguments of the attorneys and find that H.R.S. has proved by clear and convincing evidence the need for termination of parental rights. See § 39.464(5), Fla.Stat. (1991); Padgett v. Department of Health and Rehabilitative Services, 577 So.2d 565 (Fla.1991).
We therefore affirm.
DANAHY, A.C.J., and SCHOONOVER, J., concur.
